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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION                                  AU6
                                                                           IEir1ccjs         22022
CAMPAIGN LEGAL CENTER ET AL.,                   §
            PLAINTIFFS,                         §
                                                §
V.                                              §
                                                §    CAUSE NO. 1:22-CV-92-LY
JOHN B. SCOTT, IN HIS OFFICIAL                  §
CAPACITY AS SECRETARY OF THE                    §
STATE OF TEXAS,                                 §
                DEFENDANT.                      §



                    MANDATORY INJUNCTION AND FINAL JUDGMENT

        On May 9, 2022, the court called the above-referenced cause for bench trial, all parties

announced ready, and the trial proceeded and concluded. On this date, by separate Findings of

Fact and Conclusions of Law, the court concluded that Defendant John B. Scott, Secretary of the

State of Texas (the "Secretary") violated the National Voter Registration Act in refusing to

release certain voter-registration records (the "Records") upon Plaintiffs' requests on August 27,

2021, and October 20, 2021.

        IT IS THEREFORE ORDERED and the court HEREBY DECLARES that the

Secretary's refusal to release the Records upon Plaintiffs' requests violates the National Voter

Registration Act.

       IT IS FURTHER ORDERED that Defendant John B. Scott, within 14 days of the date

of this order, provide Plaintiffs with the following information pertaining to the 11,246 registered

voters identified as potential non-citizens:1




         The lettering in the following list reflects the lettering in Plaintiffs' Proposed Order
(Doc. #52-1), with certain items omitted as explained in the court's Findings of Fact and
Conclusions of Law.
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   a.   Voter name (first, middle, last, suffix);

   g. Voter Identification Number;

   h. Date of voter registration application;

   i.   Effective date of voter registration;

   j.   Status of voter registration;

   k. Any known prior voter registration statuses and dates of changes in voter
        registration status;

   1.   All known voting history;

   m. Issuance date of current driver's license, personal identification, or election
      identification certificate; and

   n. Date on which individual provided the DPS with documentation indicating lawful
      presence but not U.S. citizenship, if known.

In providing these records, the Secretary may redact any portions of the personally identifying

information that is redacted from the publicly available voter file.

        IT IS FURTHER ORDERED that Plaintiffs shall recover their costs of court from

Defendant John B. Scott.

        Any claim for attorney's fees incurred in this action will be determined post judgment

and pursuant to Rule CV-7(j), of the Local Rules of the United States District Court for the

Western District of Texas.

        As all disputes among the parties have been resolved, the court renders the following

Final Judgment pursuant to Federal Rule of Civil Procedure 58.

        IT IS FINALLY ORDERED that the case is hereby CLOSED.

        SIGNED this                     day of August, 2022.




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